846 F.2d 72Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank L. MOODY, Petitioner-Appellant,v.John BROWN, Warden, Respondent-Appellee.
    No. 87-6624.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 28, 1988.Decided April 28, 1988.
    
      Frank L. Moody, appellant pro se.
      Valerie Valenti Cloutier, Office of Attorney General of Maryland, for appellee.
      Before DONALD RUSSELL and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Moody v. Warden, C/A No. 86-3030-JH (D.Md. Aug. 27, 1987).
    
    
      2
      AFFIRMED.
    
    